          Case 3:17-cv-00558-SRU Document 311-1 Filed 12/13/19 Page 1 of 3
                                             EXHIBIT A


                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

    ONTARIO TEACHERS’ PENSION PLAN BOARD, :
    Individually and as Lead Plaintiff on behalf of all :
                                                        :        No. 3:17-cv-00558 (SRU)
    others similarly situated; and
                                                        :
    ANCHORAGE POLICE & FIRE RETIREMENT                  :
    SYSTEM, Individually and as Named Plaintiff on      :        Class Action
    behalf of all similarly-situated bond purchasers,   :
            Plaintiffs,                                 :
                                                        :
                    v.                                  :
                                                        :
    TEVA PHARMACEUTICAL INDUSTRIES LTD.; :
    EREZ VIGODMAN; EYAL DESHEH; SIGURDUR :
    OLAFSSON; DEBORAH GRIFFIN; KÅRE                     :
    SCHULTZ; MICHAEL MCCLELLAN; YITZHAK                 :
    PETERBURG; AND TEVA PHARMACEUTICAL                  :        December 13, 2019
    FINANCE NETHERLANDS III B.V.,                       :
                                                         :
            Defendants.



       [PROPOSED] ORDER REGARDING CONSOLIDATION OF RELATED CLASS
          ACTIONS AND SECOND AMENDED CONSOLIDATED COMPLAINT

I.        CONSOLIDATION

          1.     This Order shall apply to (1) the putative class actions consolidated for all purposes

by the Court’s Order dated May 3, 2017 (ECF No. 120) under the caption Ontario Teachers’

Pension Plan Board v. Teva Pharmaceutical Indus. Ltd., et al., No. 3:17-cv-00558 (SRU)

(D. Conn.) (the “Ontario Action”), (2) each of the three later-filed related putative class actions

pending in this Court (the “Later-Filed Class Actions”), 1 and (3) any putative class action which



1
 The Later-Filed Class Actions are Grodko v. Teva Pharmaceutical Industries Ltd., 18-cv-800-
SRU; Huellemeier v. Teva Pharmaceutical Industries Ltd., 3:17-cv-1938-SRU (“Huellemeier”);
and Employees’ Ret. Sys. of St. Petersburg v. Teva Pharmaceutical Industries Ltd., 3:19-cv-1768-
SRU (“St. Petersburg”).
        Case 3:17-cv-00558-SRU Document 311-1 Filed 12/13/19 Page 2 of 3



relates to the same subject matter as any of the foregoing actions that is subsequently filed in, or

transferred to, this Court and assigned to the undersigned (together with the Later-Filed Class

Actions, the “Related Actions”). A party who has the right to object to the consolidation of any

such subsequently filed or transferred case, or to any provision of this Order, must serve an

application for relief from this Order or from any of its provisions within seven days after the date

on which defense counsel mails or emails a copy of this Order to counsel for that party. The

provisions of this Order shall apply to any such action pending the Court’s ruling on the

application.

       2.      For purposes of this Order, the Ontario Action and the Related Actions are

collectively referred to as the “Consolidated Securities Litigation.” Except as otherwise provided

in an order, any order entered in the Ontario Action is deemed entered in all the actions constituting

the Consolidated Securities Litigation.

       3.      Pursuant to Local Rule 42(a), the docket for the Ontario Action shall be the “master

docket,” and all papers hereafter filed in the Consolidated Securities Litigation shall be filed on

the docket and under the caption for the Ontario Action.

       4.      Pursuant to Fed. R. Civ. P. 42(a), the Later-Filed Class Actions are consolidated

with the Ontario Action for all purposes.

II.    DUTIES OF COUNSEL

       5.      On July 11, 2017, the Court appointed Bleichmar Fonti & Auld LLP as Lead

Counsel in the Ontario Action (“Lead Counsel”). ECF No. 124. Lead Counsel shall conduct all

proceedings in the Consolidated Securities Litigation, including trial.

III.   AMENDMENT OF COMPLAINT

       6.      Defendants have consented to Plaintiffs in the Ontario Action amending the prior

Complaint (ECF No. 226) by filing a Second Amended Consolidated Class Action Complaint on


                                                  2
        Case 3:17-cv-00558-SRU Document 311-1 Filed 12/13/19 Page 3 of 3



December 13, 2019 (the “SAC”). In connection with the SAC, Plaintiffs and Defendants have

agreed, and the Court now orders, the following:

       7.      Defendants will not advance at any stage of the case the arguments that Lead

Plaintiff Ontario Teachers’ Pension Plan Board or Named Plaintiff Anchorage Police & Fire

Retirement System (together, “Plaintiffs”) do not have standing to advance the claims that are the

subject of the amendments, or that Plaintiffs are not adequate or typical representatives for

purposes of representing the class, and Defendants shall not use the fact of the amendment itself

to challenge class certification.

       8.      The SAC shall be treated identically to the prior Amended Consolidated Class

Action Complaint for relation back purposes, including under Fed. R. Civ. P. 15(c)(1).

       9.      Defendants shall not move under Fed. R. Civ. P. 12 with respect to the SAC, and

shall answer the SAC within forty-five (45) days of its filing, and consolidation, the amendment,

or the fact that Defendants have not yet filed Answers shall not constitute grounds for any delay

of these proceedings or the current schedule entered by the Court (ECF No. 298).

       10.     Subject to the exceptions set forth in Paragraph 7, 8 and 9, above, Defendants have

not waived and have expressly reserved all arguments and defenses, and Defendants may advance

any argument or defense at a later stage of the case, including in support of any motion for

summary judgment.

       11.     Defendants shall not be required to file Answers to the Complaints in Grodko,

Huellemeier, or St. Petersburg.

 SO ORDERED:

 Dated: Bridgeport, CT                              ______________________
 __________, 2019                                   Stefan R. Underhill
                                                    United States District Judge




                                                3
